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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

 UNITED STATES OF AMERICA
      PLAINTIFF,

  vs.                                                   Cr. No. 2:10CR20057-006

 MARCOS RAMOS-CHAIREZ
     DEFENDANT.


                                ORDER FOR REMISSION OF FINE


        Now on this 26th day of February, 2013, comes on to be considered the United States'

 Petition for Remission of Fine (doc. 272). The Court, being well and sufficiently advised, finds and

 orders as follows with respect thereto:

        1. On November 3, 2011, Defendant was sentenced to thirty months incarceration, five years

 of supervised release with anticipated deportation, a $100.00 special assessment and a $500.00 fine.

 The United States collected a total of $150.00 while the defendant was incarcerated in the Bureau

 of Prisons.

        2. The United States moves to remit Defendant's fine pursuant to 18 U.S.C. § 3573, which

 provides:

        Upon petition of the Government showing that reasonable efforts to collect a fine...
        are not likely to be effective, the court may, in the interest of justice - -

        1) remit all or part of the unpaid portion of the fine or special assessment, including interest
        and penalties. This statute shall apply to all fines and assessments, irrespective
        of the date of imposition."

        3. The United States states that the Defendant was deported on January 17, 2013, and that

 there is no reasonable likelihood that the fine can be collected.
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        4. Upon due consideration, the United States' Petition for Remission of Fine (doc. 272) is

 hereby granted and Defendant's fine is remitted.

        IT IS SO ORDERED.



                                                     /s/ Robert T. Dawson
                                                     HONORABLE ROBERT T. DAWSON
                                                     UNITED STATES DISTRICT JUDGE
